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                                             United States District Court
                                                     District Court
                                           Exhibits Log: 3:20-cv-1790 VAB
                                  3:20-cv-1790 Birch v. New Milford et al, 3/10/2025



EXHIBIT          DESCRIPTION
Inst-Joint-1     Parties` Stipulated Facts

Def-A            Cocchia Interview Audio Recording.wav

Def-B            Cocchia Interview Transcript

Def-C            Continuation of investigative report, 7.14.88

Def-D            States Attorney Agreement with Cocchia

Def-E            Officer Quartiero Handwritten Notes

Def-F            Inventory of Property Seized without a search warrant 12.4.85

Def-G            Possessed Property Receipt, 12.4.1985

Def-I            Receipt for seized property, 12.2.85

Def-J            Continuation of Investigation Report, evidence report, 2.2.85

Def-K            Return for and inventory property seized on search and seizure warrant

Def-L            NMPD Department General Order D.2 Order 87-2, dated 11.1.987

Def-M            Crime Scene Video

Def-N            Cocchia Written Statement taken by Shortt 1.18.89

Def-O            Photo report

Def-U            Continuation of investigation report 12.16.1985

Def-W            Continuation of investigation report 1.14.1986

Def-X            2.17.1989 Memo re Open File Policy

Def-Y            3.5.1987 letter from Watson to Evelyn Carr

Pla-2            12-2-85 NMPD Dombrowski Report re Crime Scene

Pla-8            5-5-87 O`Mara Report re Birch 12-9-85 Interrogation

Pla-10           6-10-86 Ocif Report re Burkhart Interview

Pla-12           3-5-87 Letter from Watson to Evelyn Carr

Pla-15           Three photos of stolen Buick

Pla-16           12-7-85 Zarzeski Report re Buick recovery

Pla-17           CGS 54-86c

Pla-18           12-9-85 O`Mara Report re Birch Interrogation

Pla-28           Town of New Milford Police Operations Manual 1985

Pla-29           Department General Order D.2 Order 87-2 2-1-87

Pla-32           Graham 12-5-85 Report re Carr House Seizure

Pla-33           Graham Receipt of Seized Property

Pla-34           4-3-87 Ocif Report re Shortt Return of $67 to Evelyn Carr

Pla-35           JD-CR-18 re Seizure of $1000

Pla-36           Possessed Property Receipt for $1,000

Pla-37           12-4-85 Jordan Report re Interview with Peter Barrett

Pla-38           12-4-85 Zarzeski Report re Laurel Gardens surveillance

Pla-40           1-23-86 report re 12-5-85 seizure

Pla-41           1-4-89 report re 12-2-85 Roma-Jordan photos

Pla-42           12-7-85 report re shoe stores


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EXHIBIT        DESCRIPTION

Pla-43         1-23-86 Jordan report re 12-8-85 seizure

Pla-46-a       Photographs of NMPD Homicide Box and contents

Pla-46-b       Photographs of NMPD Homicide Box and contents

Pla-46-c       Photographs of NMPD Homicide Box and contents

Pla-46-d       Photographs of NMPD Homicide Box and contents

Pla-46-e       Photographs of NMPD Homicide Box and contents

Pla-46-f       Photographs of NMPD Homicide Box and contents

Pla-46-g       Photographs of NMPD Homicide Box and contents

Pla-52         Photo of victim (Crime Scene Photo No. 31)

Pla-53         12-4-85 Quartiero report of 12-3-85 Columbo interview

Pla-54         12-6-85 Quartiero report re Donna Dacey + statement

Pla-55         Quartiero handwritten notes

Pla-59         Quartiero handwritten notes

Pla-63         Evidence flow sheets for items 27 and 18

Pla-68         2-17-89 Memo re Open File Policy

Pla-73         Cocchia interview transcript

Pla-74         Shepack notes on Cocchia interview transcript

Pla-86         12-2-85 Warrant Application

Pla-93         5-16-86 Ocif report of interview of Mark Kulesza

Pla-94         6-9-86 Ocif report of interview of Edward Chaffee

Pla-96         12-8-87 Ocif report of first Perugini interview

Pla-103        12-4-85 report re interview of George Burkhart

Pla-111        12-4-85 Lillis memo re fresh cuts and quarters

Pla-116        3-24-86 Ocif Report re VCR

Pla-119        7-14-88 Ocif Report re Cocchia Interview

Pla-128        Crime Scene Photo Log

Pla-179-02     crime scene photo listed in PX128

Pla-179-03     crime scene photo listed in PX128

Pla-179-04     crime scene photo listed in PX128

Pla-179-05     crime scene photo listed in PX128

Pla-179-06     crime scene photo listed in PX128

Pla-179-07     crime scene photo listed in PX128

Pla-179-08     crime scene photo listed in PX128

Pla-179-09     crime scene photo listed in PX128

Pla-179-10     crime scene photo listed in PX128

Pla-179-11     crime scene photo listed in PX128

Pla-179-12     crime scene photo listed in PX128

Pla-179-13     crime scene photo listed in PX128

Pla-179-14     crime scene photo listed in PX128

Pla-179-15     crime scene photo listed in PX128

Pla-179-16     crime scene photo listed in PX128

Pla-179-17     crime scene photo listed in PX128

Pla-179-18     crime scene photo listed in PX128

Pla-179-19     crime scene photo listed in PX128


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EXHIBIT        DESCRIPTION

Pla-179-20     crime scene photo listed in PX128

Pla-179-21     crime scene photo listed in PX128

Pla-179-22     crime scene photo listed in PX128

Pla-179-23     crime scene photo listed in PX128

Pla-179-24     crime scene photo listed in PX128

Pla-179-25     crime scene photo listed in PX128

Pla-179-26     crime scene photo listed in PX128

Pla-179-27     crime scene photo listed in PX128

Pla-179-28     crime scene photo listed in PX128

Pla-179-29     crime scene photo listed in PX128

Pla-179-30     crime scene photo listed in PX128

Pla-179-31     crime scene photo listed in PX128

Pla-179-32     crime scene photo listed in PX128

Pla-179-33     crime scene photo listed in PX128

Pla-179-34     crime scene photo listed in PX128

Pla-179-35     crime scene photo listed in PX128

Pla-179-36     crime scene photo listed in PX128

Pla-179-37     crime scene photo listed in PX128

Pla-179-38     crime scene photo listed in PX128

Pla-179-39     crime scene photo listed in PX128

Pla-179-40     crime scene photo listed in PX128

Pla-179-41     crime scene photo listed in PX128

Pla-179-42     crime scene photo listed in PX128

Pla-179-43     crime scene photo listed in PX128

Pla-179-44     crime scene photo listed in PX128

Pla-179-45     crime scene photo listed in PX128

Pla-179-46     crime scene photo listed in PX128

Pla-179-47     crime scene photo listed in PX128

Pla-179-48     crime scene photo listed in PX128

Pla-179-49     crime scene photo listed in PX128

Pla-179-50     crime scene photo listed in PX128

Pla-179-51     crime scene photo listed in PX128

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Pla-179-57     crime scene photo listed in PX128

Pla-179-58     crime scene photo listed in PX128

Pla-179-59     crime scene photo listed in PX128

Pla-179-60     crime scene photo listed in PX128

Pla-179-61     crime scene photo listed in PX128

Pla-179-62     crime scene photo listed in PX128

Pla-179-63     crime scene photo listed in PX128


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EXHIBIT        DESCRIPTION

Pla-179-64     crime scene photo listed in PX128

Pla-179-65     crime scene photo listed in PX128

Pla-179-66     crime scene photo listed in PX128

Pla-179-67     crime scene photo listed in PX128

Pla-179-68     crime scene photo listed in PX128

Pla-179-69     crime scene photo listed in PX128

Pla-179-70     crime scene photo listed in PX128

Pla-179-71     crime scene photo listed in PX128

Pla-179-72     crime scene photo listed in PX128

Pla-179-73     crime scene photo listed in PX128

Pla-179-74     crime scene photo listed in PX128

Pla-179-75     crime scene photo listed in PX128

Pla-179-76     crime scene photo listed in PX128

Pla-179-77     crime scene photo listed in PX128

Pla-179-78     crime scene photo listed in PX128

Pla-179-79     crime scene photo listed in PX128

Pla-179-80     crime scene photo listed in PX128

Pla-179-81     crime scene photo listed in PX128

Pla-182        Transcript of State v. Birch (1989), with nonjury portions removed

Pla-183        Pony Sneakers (Habeas Ex. 26)

Pla-184        Subzero Work Boots (Habeas Ex. 28)

Pla-185        Texas Steer Work Shoes (Habeas Ex. 29)

Pla-186        Photo of bloody chevron footprint (Habeas Ex. 152)

Pla-187        Photos of 3 bloody footprints (Habeas Ex. 153)

Pla-188        Photo of bloody Vibram heel footprint (Habeas Ex. 154)

Pla-189        Photo of bloody Vibram full footprint (Habeas Ex. 155)

Pla-190        Known impressions of Vibram footprints (Habeas Ex. 156)

Pla-191        Photo of bloody Vibram full footprint (Habeas Ex. 157)

Pla-192        Heel exemplar (Habeas Ex. 158a)

Pla-193        Heel exemplar (Habeas Ex. 158b)

Pla-194        Heel exemplar (Habeas Ex. 158c)

Pla-195        Heel exemplar (Habeas Ex. 158d)

Pla-196        Heel exemplar (Habeas Ex. 158e)

Pla-197        Lab Report 7-1-08 (Habeas Ex. 34)

Pla-198        Lab Report 3-31-10 (Habeas Ex.35)

Pla-199        Lab Report 6-29-11 (Habeas Ex. 36)

Pla-200        Lab Report 5-7-12 (Habeas Ex. 37)

Pla-201        Lab Report 7-30-12 (Habeas Ex. 38)

Pla-203        Lab Report 3-13-13 (Habeas Ex. 40)

Pla-204        Lab Report 7-31-13 (Habeas Ex. 41)

Pla-205        Lab Report 11-27-13 (Habeas Ex. 42)

Pla-206        Lab Report 4-7-14 (Habeas Ex. 43)

Pla-207        Lab Report 1-2-15 (Habeas Ex. 44)

Pla-208        Lab Report 10-29-15 (Habeas Ex. 45)


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EXHIBIT     DESCRIPTION

Pla-211     Connecticut State Police Casebook binders

Pla-213     Ocif report of 1-31-89 interview of Todd Cocchia

Pla-214     Ocif report of 1-25-89 arrest of Ralph Birch

Pla-215     McCafferty report of 1-18-89 interview of Todd Cocchia

Pla-216     Ocif report of 7-6-88 interview of Ralph Birch

Pla-217     12-21-88 letter from Assistant States Atty David Shepack

Pla-220     Todd Cocchia Testimony in Probable Cause Hearing 2-14-89

Pla-221     Photo of open dresser drawer with White Owl box

Pla-223     Photo of open dresser drawer with White Owl box

Pla-225     Photo of Shawn Hennings arrest

Pla-227     Photo of Shawn Hennings room

Pla-228     Photo of Ralph Birch with mother on release date

Pla-229     Photo of Birch with Shawn Henning on Birchs release date

Pla-230     Photo of exterior of David Hennings house

Pla-231     Photo of Ralph Birch

Pla-232     Calendar November-December 1985

Pla-233     Lab Report 02-05-2010 (Habeas Ex. 17)

Pla-234     Lab Report 08-09-2011 (Habeas Ex. 19)

Pla-235     Lab Report 06-20-2013 (Habeas Ex. 23)

Pla-236     Lab Report 05-13-2011 (Habeas Ex. 18)

Pla-238     Lab Report 08-09-2011 (Habeas Ex. 19)

Pla-239     Continuation of Investigation Report, 1-30-86, DEFS000558

Pla-240     Photo of Ralph Birch with mother, Somers Correctional




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